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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

  UNITED STATES OF AMERICA,                        *
                                                   *
                  Plaintiff,                       *
                                                   *
          v.                                       *       CIVIL NO. 24-CV-2727
                                                   *
  FOURTEEN ANCIENT EGYPTIAN                        *
  ARTIFACTS SEIZED BY U.S.                         *
  CUSTOMS AND BORDER                               *
  PROTECTION,                                      *

                  Defendants
                                               *******

                               WARRANT FOR ARREST IN REM

TO:    THE MARSHAL OF THE UNITED STATES AND/OR ANY OTHER DULY
       AUTHORIZED LAW ENFORCEMENT OFFICER


       WHEREAS, on July 30, 2024, the United States of America filed a verified complaint for

civil forfeiture in the United States District Court for the District of Maryland against the following

defendants in rem:

           a. Old Kingdom Limestone Funerary Statute of Seated Elite, seized on or about
              August 24, 2020, at Anchorage, Alaska;

           b. Ancient Egyptian Faience Amulet of the Goddess Hatmehyt from Egypt’s Late
              Period (664-332 BCE), seized on or about September 29, 2020, at John F. Kennedy
              Airport in New York;

           c. Egyptian wooden canopic jar cover from the New Kingdom Period, 19th Dynasty
              or later 1300 BCE, seized on or about November 17, 2020, at John F. Kennedy
              Airport in New York

           d. Cypriot Spindle Ware Vessel (New Kingdom Period 1549 to 1075 BCE), seized on
              or about November 17, 2020 at John F. Kennedy Airport in New York;
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           e. Painted limestone Shabti from ancient Egypt’s New Kingdom period (1549 to 1075
              BCE), seized on or about November 17, 2020, at John F. Kennedy Airport in New
              York;

           f. Painted limestone phallic figurine from ancient Egypt’s Late Period to Ptolemaic
              Period (664-30 BCE), seized on or about November 17, 2020, at John F. Kennedy
              Airport in New York;

           g. Painted limestone Egyptian Shabti from ancient Egypt’s New Kingdom period
              (1549 to 1075 BCE), seized on or about November 18, 2020, at John F. Kennedy
              Airport in New York;

           h. Egyptian Calcite/Alabaster Shabti (1190-1075 BCE), seized on or about November
              18, 2020, at John F. Kennedy Airport in New York;

           i. Painted limestone Egyptian Bed Figurine (New Kingdom Period 1549-1075 BCE),
              seized on or about November 18, 2020, at John F. Kennedy Airport in New York;

           j. Egyptian Glazed Phallic Figurine from Egypt's Late Period to Ptolemaic Period
              (664-30 BCE), seized on or about November 18, 2020, at John F. Kennedy Airport
              in New York;

           k. Faience Shabti Figurine (Late Period to Ptolemaic Period 664-30 BCE), seized on
              or about November 18, 2020, at John F. Kennedy Airport in New York;

           l. Pre-Dynastic Vase (3500-3200 BCE), seized on or about November 18, 2020, at
              John F. Kennedy Airport in New York;

           m. Egyptian limestone lug-handled jar, Early Dynastic Period, c. 3000-2600 BCE,
              seized on or about April 7, 2021, at John F. Kennedy Airport in New York; and

           n. Egyptian painted wooden Ushabti box, Third Intermediate Period to Late Period, c.
              1075-332 BCE, seized on or about April 7, 2021, at John F. Kennedy Airport in
              New York

       (collectively, the “Defendant Property) alleging the Defendant Property is subject to

seizure and civil forfeiture to the United States for the reasons mentioned in the complaint; and

       WHEREAS, the Defendant Property is currently in the possession, custody or control of

the United States; and
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         WHEREAS, in these circumstances Supplemental Rule G(3)(b)(i) directs the Clerk of the

Court to issue an arrest warrant in rem for the arrest of the Defendant Property; and

         WHEREAS, Supplemental Rule G(3)(c) provides that the warrant of arrest in rem must be

delivered to a person or organization authorized to execute it;

         NOW THEREFORE you are hereby commanded to arrest the above-named Defendant

Property by serving a copy of this warrant on the custodian in whose possession, custody or control

the property is presently found, and to use whatever means may be appropriate to protect and

maintain it in your custody until further order of this Court.

         YOU ARE FURTHER COMMANDED, promptly after execution of this process, to file

the same in this Court with your return thereon, identifying the individuals upon whom copies

were served and the manner employed.



Dated:      9/24/2024



                                              Clerk of the Court
                                              United States District Court


                                       By:
                                              Deputy Clerk
